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CRIMINAL PROCEEDINGS - Sentencing

       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Judge Edward J. Lodge                         Date: April 16, 2019
Case No. 1:18-cr-191-EJL                      Deputy Clerk: Sunny Trumbull
Court Reporter: Lisa Yant                     Place: Boise, Idaho
Time: 10:03 a.m. - 10:44 a.m.

UNITED STATES OF AMERICA vs. Jennifer Fanopoulos

               Probation Officer: Mike Cruser
               Counsel for United States: Darci Crane
               Defendant(s): S. Richard Rubin, Federal Defender

Court reviewed case history in this matter. Presentence report adopted by the Court. The Court finds
an offense level of 8, a criminal history of 1 and a guideline range of 0-6 months.

Ms. Crane presented arguments and recommendations to the Court on behalf of the Government and
recommended a sentence of 45 days in intermittent confinement, 3 years probation and restitution
in the amount of $109.

Mr. Rubin presented arguments and recommendations and requested the Court sentence the
defendant to probation.

The defendant made statements to the Court on her own behalf.

The Court addressed 3553(a) factors.

SENTENCE: Defendant is hereby sentenced to 3 years probation on each of counts 27 and 28 to run
concurrent. The defendant shall complete 200 hours of community service.

The defendant shall wear a charm bracelet with photos of her kids to deter her from reaching for
drugs or alcohol.

The Court waived the fine in this matter and ordered the defendant to pay a $100.00 special
assessment on each of counts 27 and 28, for a total of $200.00. The defendant shall pay restitution
in the amount of $109.00.

Probation is imposed upon the following terms and conditions:

The defendant shall not commit another federal, state or local crime.

The defendant shall not possess a firearm, ammunition, destructive device or other dangerous
weapon.
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The defendant shall comply with all special conditions as outlined in part D of the pre sentence
investigation report.

The Court advised Counsel to review all conditions with the defendant to be sure the defendant
understands each of the conditions.

Court advised the defendant of her rights to appeal.
